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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


  JOSEPH LONGO, JUSTIN LONGO,
  LOIS SPATZ, EAVEN SPATZ, RAINA
  POMEROY, and MAXWELL
  NASSAR, individually and on behalf of
  all others similarly situated         CASE NO.: 8:20-cv-02651-KKM-TGW

        Plaintiff,

  v.

  CAMPUS ADVANTAGE, INC.

        Defendant.

                                    ./

         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

              COMES NOW the Plaintiffs, JOSEPH LONGO, JUSTIN LONGO,

 LOIS SPATZ, EAVEN SPATZ, RAINA POMEROY, and MAXWELL

 NASSAR, and the Defendant CAMPUS ADVANTAGE, INC., pursuant to Fed.

 R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby

 stipulate to dismiss, with prejudice, each claim and count therein asserted by

 Plaintiffs against the Defendants, in the above styled action, with Plaintiffs and

 Defendants, to bear their own attorney’s fees, costs and expenses.
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        By:

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    Attorney for Plaintiff                         Attorney for Defendant




                              CERTIFICATE OF SERVICE

      I certify that on May 13, 2022, a copy of the foregoing document was served on all
counsel of record via CM/ECF.



                                      /s/ Amanda J. Allen
                                      Amanda J. Allen, Esq.
                                      Florida Bar No. 0098228




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